Case 06-01165-DHS         Doc 4    Filed 02/27/06 Entered 02/27/06 14:11:37                Desc Main
                                   Document     Page 1 of 4



BARRY E. LEVINE
ATTORNEY AT LAW
Powder Mill Plaza
101 Gibraltar Drive, Suite 2-F
Morris Plains, New Jersey 07950
Telephone (973) 538-2084
Attorney for Debtors

                         UNITED STATES BANKRUPTCY COURT
                              DISTRICT OF NEW JERSEY

______________________________
IN RE:                           :
                                 :
JUSTINE & THOMAS P.              :
CHAMBERLIN,                      :            CASE NO. 05-47169 DHS
                                 :
                  Debtor(s)      :            ADVERSARY PROCEEDING
                                 :
CHASE BANK USA, N.A.,            :            CHAPTER 7
                                 :
                  Plaintiff.     :            ADV. NO. 06-01165 DHS
                                 :
            v.                   :
                                 :
JUSTINE CHAMBERLIN,              :
                                 :
                  Defendant (s). :
______________________________:

______________________________________________________________________________

      ANSWER TO COMPLAINT FOR NON-DISCHARGEABILITY OF DEBT
______________________________________________________________________________

   Defendant Justine Chamberlin, by way of Answer to the Adversary Complaint states as

follows:

                              JURISDICTION: VENUE PARTIES

   1.      This states a jurisdictional basis for the suit, and no response is required.

   2.      Admitted.
Case 06-01165-DHS       Doc 4      Filed 02/27/06 Entered 02/27/06 14:11:37         Desc Main
                                   Document     Page 2 of 4



  3.    Neither admit or deny, but leave plaintiff to proofs.



                         FACTS APPLICABLE TO ALL COUNTS

  4.    Defendant admits that this debt was listed on her bankruptcy petition as an unsecured

        debt. Defendant neither admits nor denies the amount of the debt, but leaves the

        plaintiff to its proofs.

  5.    Defendant neither admits nor denies the allegations in Paragraph 5, but leaves the

        plaintiff to its proofs.

  6.    Admitted.

  7.    Admitted

  8.    Paragraph 8 states a legal conclusion and it therefore denied.

  9.    Denied.

  10.   Denied.

  11.   Denied.

  12.   Denied.

  13.   Denied.

  14.   Denied.

                                            COUNT I

             NON-DISCHARGEABILITY – 11 U.S.C. Section 523 (a)(2)(A)

  15.   Defendant repeats its Answers to Paragraphs 1 through 14 as if set forth at full length

        herein.

  16.   Denied.
Case 06-01165-DHS          Doc 4    Filed 02/27/06 Entered 02/27/06 14:11:37            Desc Main
                                    Document     Page 3 of 4



                                              COUNT II

                 NON-DISCHARGEABILITY – 11 U.S.C. Section 523 (a)(2)(C)

   17.      Defendant repeats its Answers to Paragraphs 1 through 16 as if set forth at full length

            herein.

   18.      Denied.



         WHEREFORE, Defendant Justine Chamberlin respectfully requests that this case be

   dismissed as against her with prejudice, and without costs.




                               SPECIFICATION OF DEFENSES


                                   FIRST SEPARATE DEFENSE

         All charges incurred by Defendant on the Plaintiff’s credit card were made with the intent

of fully repaying the debt.

                                SECOND SEPARATE DEFENSE

         Defendant was not insolvent when charges on the credit card were made.



                                                      BARRY E. LEVINE
                                                      Attorney for Defendant
                                                      Justine Chamberlin


                                              By:     /s/ Barry E. Levine
                                                      BARRY E. LEVINE
Dated: 2/24/06
Case 06-01165-DHS        Doc 4    Filed 02/27/06 Entered 02/27/06 14:11:37          Desc Main
                                  Document     Page 4 of 4



                                 FILING CERTIFICATION

       I hereby certify that the within Answer to Complaint was filed with the Clerk, United

States Bankruptcy Court, and a copy served on my adversary via electronic filing.




                                            By:    /s/ Barry E/ Levine
Dated: 2/24/06                                     BARRY E. LEVINE
